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1    BENJAMIN B. WAGNER
     United States Attorney
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3    Sacramento, CA 95814
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4    (916) 554-2900 FAX
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7

8                       IN THE UNITED STATES DISTRICT COURT

9                          EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,           ) CASE NO. CR S 2:10-0347 LKK
                                         )
12                        Plaintiff,     ) ORDER CONTINUING STATUS
                                         ) CONFERENCE
13   v.                                  )
                                         )
14                                       )
     DISHAN PERERA, IMESH PERRERA,       )
15   LEONARD WOODFORK,                   )
     LOVEDEEP SIDHU, NAVJOT SINGH,       )
16   JASON CAVILEER, RAMIRO GARCIA,      )
     AND TORREY MOORE,                   )
17                                       )
                          Defendants     )
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19
          IT IS HEREBY STIPULATED between Plaintiff United States of
20
     America, by and through Assistant United States Attorney Todd D.
21
     Leras, and Attorney Dwight Samuel on behalf of Dishan Perera,
22
     Attorney Mark Waeker on behalf of Imesh Perera, Attorney Olaf
23
     Hedberg on behalf of Leonard Woodfork, Attorney Christopher
24
     Haydn-Myer on behalf of Lovedeep Sidhu, Attorney Mark Reichel on
25
     behalf of Navjot Singh, Attorney Dan Koukol on behalf of Jason
26
     Cavileer, Attorney Shari Rusk on behalf of Torey Moore, and
27
     Attorney Christopher Cosca on behalf of Ramiro Garcia, that the
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1    status conference scheduled for September 26, 2013, be continued

2    to December 5, 2013, at 9:00 a.m.

3          This case stems from a wiretap investigation and the

4    discovery is voluminous. The parties are reviewing that

5    discovery in light of the proposed and prospective resolution

6    proposals. The government has provided written Plea Agreements

7    proposing resolution of this matter to all but two of the

8    remaining defendants in this case. Several of the defendants

9    have potential immigration consequences as a result of the

10   proposed resolution. Counsel for these defendants need

11   additional time to consult with immigration counsel and the

12   government about these matters. Counsel for several of the other

13   defendants are engaging in continued investigation related to the

14   potential guidelines applicable in the event the case proceeds to

15   trial or is resolved through negotiation.

16         Given the voluminous discovery, including telephone calls

17   intercepted during the course of three successive rounds of

18   wiretaps, counsel requires additional preparation time to advise

19   their respective clients of the appropriate course of action

20   regarding the resolution proposals. The parties therefore

21   request to continue the status conference to December 5, 2013.

22         For the above-stated reasons, the parties stipulate that

23   time be excluded under 18 U.S.C. § 3161(h)(7)(B)(iv); Local Code

24   T4 (reasonable time to prepare and continuity of counsel).

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1    Defense counsel have authorized Assistant U.S. Attorney Todd D.

2    Leras to sign this stipulation on their behalf following a review

3    of its contents.

4
     DATED: September 20, 2013              By: /s/ Todd D. Leras
5                                           TODD D. LERAS
                                            Assistant U.S. Attorney
6

7    DATED: September 20, 2013              By: /s/ Todd D. Leras for
                                            DWIGHT SAMUEL
8                                           Attorney for Defendant
                                            DISHAN PERERA
9
     DATED: September 20, 2013              By: /s/ Todd D. Leras for
10                                          OLAF HEDBERG
11                                          Attorney for Defendant LEONARD
                                            WOODFORK
12
     DATED: September 20, 2013              By: /s/ Todd D. Leras for
13                                          MARK WAEKER
                                            Attorney for Defendant
14                                          IMESH PERERA
15
     DATED: September 20, 2013              By: /s/ Todd D. Leras for
16                                          CHRISTOPHER HAYDN-MYER
                                            Attorney for Defendant
17                                          LOVEDEEP SIDHU
18   DATED: September 20, 2013              By: /s/ Todd D. Leras for
                                            MARK REICHEL
19
                                            Attorney for Defendant
20                                          NAVJOT SINGH

21   DATED: September 20, 2013              By: /s/ Todd D. Leras for
                                            DAN KOUKOL
22                                          Attorney for Defendant
                                            JASON CAVILEER
23

24   DATED: September 20, 2013              By: /s/ Todd D. Leras for
                                            CHRISTOPHER COSCA
25                                          Attorney for Defendant
                                            RAMIRO GARCIA
26
     DATED: September 20, 2013              By: /s/ Todd D. Leras for
27                                          SHARI L. RUSK
28                                          Attorney for Defendant
                                            TOREY MOORE
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                                             3
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1    IT IS HEREBY ORDERED:

2        1. A status conference in this matter is set for December

3    5, 2013, at 9:00 a.m.;

4        2. Based on the stipulation of the parties, the Court

5    finds that the ends of justice outweigh the best interest of the

6    public and Defendant in a speedy trial. Accordingly, time under

7    the Speedy Trial Act shall be excluded under 18 U.S.C. §

8    3161(h)(7)(B)(iv) and Local Code T4 (reasonable time to prepare)

9    up to and including December 5, 2013.

10       IT IS SO ORDERED.

11   Dated:     September 25, 2013

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